          Case 24-05092                 Doc 1         Filed 02/11/24        Entered 02/11/24 11:49:02                          Page 1 of 15
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS


 Luc A. Despins, Chapter 11 Trustee                                             Zeta Global Corp
ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
 Douglas S. Skalka, Patrick R. Linsey
 Neubert, Pepe & Monteith, P.C.
 195 Church St. 13th Floor New Haven, CT 06510
 (203)781-2847
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

 Complaint of Chapter 11 Trustee seeking avoidance and recovery of fraudulent transfers, preferential transfers, and
 postpetition transfers and related relief pursuant to Bankruptcy Code Sections 544,548 and
 550 and New York Debtor and Creditor Law Sections 273, 274, and 276

                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                     □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought
       Case 24-05092            Doc 1      Filed 02/11/24          Entered 02/11/24 11:49:02                Page 2 of 15
 B1040 (FORM 1040) (12/15)

                BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                  BANKRUPTCY CASE NO.
Ho Wan Kwok                                     22-50073 (JAM)
DISTRICT IN WHICH CASE IS PENDING               DIVISION OFFICE     NAME OF JUDGE
 Connecticut                                    Bridgeport          Julie A. Manning
                            RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                             DEFENDANT                     ADVERSARY
                                                                    PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

     /s/ Douglas S. Skalka




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
           February 11, 2024

                                                                                Douglas S. Skalka




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
    Case 24-05092        Doc 1      Filed 02/11/24         Entered 02/11/24 11:49:02              Page 3 of 15




                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                    BRIDGEPORT DIVISION

-----------------------------------------------------------
                                                      x
                                                      :
In re:                                                :       Chapter 11
                                                      :
                               1
HO WAN KWOK, et al.,                                  :       Case No. 22-50073 (JAM)
                                                      :
                                 Debtors.             :       (Jointly Administered)
                                                      :
-----------------------------------------------------------
                                                      x
                                                      :
LUC A. DESPINS, CHAPTER 11                            :
TRUSTEE,                                              :
                                                      :       Adv. Proceeding No. [              ]
                                 Plaintiff,           :
v.                                                    :
                                                      :
                                                      :       February 11, 2024
ZETA GLOBAL CORP.,                                    :
                                                      :
                                 Defendant.           :
                                                      :
-----------------------------------------------------------
                                                      x


COMPLAINT OF CHAPTER 11 TRUSTEE SEEKING AVOIDANCE AND RECOVERY
    OF FRAUDULENT TRANSFERS AND RELATED RELIEF PURSUANT TO
 BANKRUPTCY CODE SECTIONS 544, 548 AND 550 AND NEW YORK DEBTOR &
              CREDITOR LAW SECTIONS 273, 274, AND 276

         Luc A. Despins, in his capacity as the chapter 11 trustee (the “Trustee”) appointed in the

chapter 11 case (the “Chapter 11 Case”) of Ho Wan Kwok (the “Debtor” or “Kwok”), files this




1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
     LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
     for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park
     Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes
     of notices and communications).
    Case 24-05092         Doc 1      Filed 02/11/24         Entered 02/11/24 11:49:02                Page 4 of 15




adversary complaint (the “Complaint”) against defendant Zeta Global Corp. (the “Defendant”),

stating as follows:

                                            NATURE OF ACTION

          1.      The Trustee commences this adversary proceeding to avoid and recover transfers

of the Debtor’s property prior to the commencement of this Chapter 11 Case.

          2.      The Debtor, through his alter-ego shell companies, Lexington Property and Staffing

Inc. (“Lexington”) and HCHK Technologies Inc. (“HCHK Technologies”) transferred funds in the

amount of $865,029.22 prior to the Petition Date (as defined herein) to the Defendant as the initial

transferee.

          3.      These transfers were actually fraudulent, because the Debtor effectuated them as

part of his “shell game,” and they were made with the intent to hinder, delay, and/or defraud the

Debtor’s creditors.

                                       JURISDICTION AND VENUE

          4.      This Court has subject matter jurisdiction over this adversary proceeding pursuant

to 28 U.S.C. § 1334(b).

          5.      This adversary proceeding has been referred to this Court pursuant to 28 U.S.C. §

157(a).

          6.      The statutory predicates for the relief sought herein include sections 544, 548 and

550 of Title 11 of the United States Code (the “Bankruptcy Code”) and New York Debtor &

Creditor Law sections 273, 274, and 276 2 or any other applicable state law equivalents.


2
     All statutory references to New York Debtor and Creditor Law will hereinafter be referred to as “N.Y. Debt. &
     Cred. Law”. The New York Uniform Voidable Transactions Act (“NYUVT”) replaced the New York Uniform
     Fraudulent Conveyance Act (“NYUFC”) and became effective on April 4, 2020 and applies to transfers made or
     obligations incurred on or after April 4, 2020. With respect to transfers prior to April 4, 2020, the Trustee seeks
     relief in this action under the NYUFC and N.Y. Debt. & Cred. Law sections 273, 273a, 275, 276 and 278.

                                                           2
    Case 24-05092        Doc 1      Filed 02/11/24        Entered 02/11/24 11:49:02   Page 5 of 15




                                                THE PARTIES

         7.       The Trustee is the chapter 11 trustee in the Chapter 11 Case pursuant to the

Bankruptcy Court’s order entered on July 8, 2022 [Case No. 22-50073 (the “Main Case”) Docket

No. 523].

         8.       The Defendant is a Delaware corporation with an address and place of business at

3 Park Avenue, 33rd Floor, New York, New York 10016.

                                                     FACTS

A.       Chapter 11 Case

         9.       The Debtor filed a voluntary petition for relief under Chapter 11 of Title 11 of the

United States Code (the “Bankruptcy Code”) on February 15, 2022 (the “Petition Date”) in the

United States Bankruptcy Court for the District of Connecticut (the “Bankruptcy Court”), thus

commencing the above-captioned chapter 11 case (the “Chapter 11 Case”).

         10.      On March 21, 2022, the Office of the United States Trustee appointed an Official

Committee of Unsecured Creditors in this Chapter 11 Case. No examiner has been appointed.

         11.      The Debtor’s bankruptcy schedules, filed in March 2022 with the Bankruptcy

Court, claimed that he owned $3,850 in assets and had incurred hundreds of millions of dollars of

liabilities.3 While the Debtor was, indeed, deeply indebted, his schedules failed to disclose the

Debtor’s property as held and/or transferred through his many alter-ego shell companies, including

Lexington and HCHK Technologies.

         12.      On June 15, 2022, the Court entered a memorandum of decision and order [Main

Case Docket No. 465] directing the United States Trustee to appoint a chapter 11 trustee in the

Chapter 11 Case. Pursuant to this order, the United States Trustee selected Luc A. Despins as the


3
     Schedule of Assets and Liabilities, at 1 [Main Case Docket No. 78].
                                                         3
    Case 24-05092        Doc 1       Filed 02/11/24        Entered 02/11/24 11:49:02               Page 6 of 15




Trustee. On July 8, 2022, the Court entered an order granting the appointment of Luc A. Despins

as the Trustee in the Chapter 11 Case [Main Case Docket No. 523].

B.         Debtor’s Use of Shell Companies and Trustee’s Adversary Proceedings

           13.    Lexington and HCHK Technologies are some of the numerous alter-ego shell

companies used by the Debtor to hinder, delay, and/or defraud his creditors.4 For years, the Debtor

has orchestrated a “shell game,” employing a convoluted web of shell companies, nominally

owned by family members, lieutenants, and/or subordinates, but in reality, controlled by the

Debtor. This shell game enabled the Debtor to use and spend and/or transfer millions of dollars

of cash and other assets.

           14.    Since his appointment, the Trustee has commenced a number of adversary

proceedings in the Chapter 11 Case to, among other things, establish that the Debtor’s shell

companies were his alter-egos and/or that such companies and their assets were equitably owned

by the Debtor and in several adversary proceedings the Bankruptcy Court has already granted such

relief.5

           15.    The fact patterns in these litigations consistently involve: (i) Debtor-controlled shell

companies held by close family members and/or subordinates, (ii) assets purchased with cash from




4
     Default has entered against Lexington and HCHK Technologies in the adversary proceeding Despins v. HCHK
     Technologies, Inc., et. al (Adv. Proc. No. 23-5013 (the “HCHK Entities A.P.”), Docket No. 139), which adversary
     proceeding seeks, among other things, a declaratory judgment that Lexington and HCHK Technologies are the
     alter egos of the Debtor. The Trustee incorporates by reference herein, the Trustee’s Complaint filed in the HCHK
     Entities A.P. (Adv. Proc. No. 23-5013, Docket No. 1).
5
     These include the following adversary proceedings: (i) Luc A. Despins, Chapter 11 Trustee v. HK International
     Funds Investments (USA) Limited, LLC, et al. [Adv. Proc. No. 22-05003]; (ii) Luc A. Despins, Chapter 11 Trustee
     v. Greenwich Land LLC, et al. [Adv. Proc. No. 23-05005]; (iii) Luc A. Despins, Chapter 11 Trustee v. Mei Guo
     [Adv. Proc. No. 23-05008]; (iv) Luc A. Despins, Chapter 11 Trustee v. HCHK Technologies, Inc., et al. [Adv.
     Proc. No. 23-05013]; (v) Luc A. Despins, Chapter 11 Trustee v. Taurus Fund LLC, et al. [Adv. Proc. No. 23-
     05017]; (vi) Luc A. Despins, Chapter 11 Trustee v. Golden Spring (New York) Limited [Adv. Proc. 23-05018];
     and (vii) Luc A. Despins, Chapter 11 Trustee v. Lamp Capital LLC, et al. [Adv. Proc. 23-05023].

                                                          4
    Case 24-05092       Doc 1      Filed 02/11/24       Entered 02/11/24 11:49:02             Page 7 of 15




other Debtor-controlled entities and/or transferred to and among shell entities for no consideration,

and (iii) the Debtor benefiting from and having control and dominion over such assets.

C.       Debtor’s Conduct to Hinder, Delay, and/or Defraud Creditors

         16.     In addition to the matters addressed in the Trustee’s adversary proceedings, the

Bankruptcy Court has found that the Debtor was the beneficial owner of Ace Decade Limited (and

through it, Dawn State Limited) and that the Debtor controlled and employed Ace Decade

Limited’s nominee shareholder, Yvette Wang.6

         17.     The Bankruptcy Court has also found that the “G Entities” (Gettr, G Fashion, G

Music, GClubs, GNews and GEdu), the New Federal State of China and the Rule of Law

Foundation, as well as other purportedly independent entities and organizations, were controlled

by the Debtor,7 led by the Debtor8 and/or served “the purposes of… and as business vehicles of”

the Debtor.9

         18.     Prior to the Petition Date, Judge Liman of the United States District Court for the

Southern District of New York found that Eastern Profit Corporation Limited, an entity originally

owned by one of the Debtor’s chefs before its transfer to Debtor’s daughter, was “in essence, a

shell corporation” for the Debtor.10




6
     Order Granting Motion to Hold Debtor in Contempt of Corporate Governance Order, ¶¶ 1, 4 (Jan. 24, 2023,
     Docket No. 1372 (“Corp. Governance Contempt Order”).
7
     Corrected Memorandum of Decision Granting in Part Motion for Preliminary Injunction, ¶ 3 (Adv. Proc. No.
     22-05032, January 13, 2023 (“The Debtor also controls Saraca Media Group and a related entity ‘GTV’”).
8
     Id. at ¶ 7 (“The Debtor is the leader of The Whistleblower Movement, NFSC, ROLF and Himalaya.”).
9
     Id. (“The Whistleblower Movement, NFSC, ROLF, GSeries, and Himalaya serve the purposes of the Debtor,
     serve as business vehicles for the Debtor, and their members are personally loyal to the Debtor.”).
10
     Eastern Profit Corp. Ltd. v. Strategic Vision US LLC, No. 18-CV-2185 (LJL) 2021 WL 2554631, at *1 (S.D.N.Y.
     June 22, 2021).
                                                       5
 Case 24-05092          Doc 1     Filed 02/11/24       Entered 02/11/24 11:49:02            Page 8 of 15




         19.     The Debtor has gone to great lengths to hinder and delay the collection efforts of

one of his largest creditors, i.e., Pacific Alliance Asia Opportunity Fund, L.P. (“PAX”). In 2017,

PAX sued the Debtor in the Supreme Court of the State of New York (the “New York Court”),

Index No. 652077/2017 (the “PAX Case”), seeking judgment for monies owed. On February 3,

2021, PAX obtained a judgment from the New York Court against the Debtor in the sum of

$116,402,019.57 (the “PAX Judgment”). PAX sought to enforce the PAX Judgment by levying

the Debtor’s assets—including the Lady May, which the Debtor falsely claimed was owned by his

daughter, and the Debtor’s luxury apartment in Manhattan, which the Debtor falsely claimed was

held in trust for the Debtor’s son. The Debtor’s defiance of New York Court orders in post-

judgment proceedings eventually resulted in the Debtor incurring contempt penalties of $134

million.

         20.     The Debtor also used his alter egos, including Lexington and HCHK Technologies,

as personal piggy-banks, funding the lavish lifestyle to which he and his family had become

accustomed, while concealing assets in these alter egos from his creditors and hindering and

delaying creditors from recoveries on their claims. The transfers that the Debtor effectuated

through these alter egos effectuated the Debtor’s fraudulent scheme.

         21.     The Debtor has testified before the Bankruptcy Court that he has insufficient assets

to pay his liabilities and that his luxurious lifestyle is funded by his family through businesses

nominally held by family members. 11 The Debtor scheduled only $3,850 in assets.12




11
     Hearing on Debtor’s Motion for Entry of Interim and Final DIP Orders (I) Authorizing the Debtor to Obtain
     Unsecured, Subordinated Postpetition Financing and (II) Scheduling Interim and Final Hearings, and (III)
     Granting Related Relief (Main Case, April 27, 2022)
12
     See n.3

                                                      6
 Case 24-05092           Doc 1      Filed 02/11/24        Entered 02/11/24 11:49:02              Page 9 of 15




         22.      In March 2023, the Debtor was arrested and remains confined pending his trial on

federal criminal charges of, among other things, wire fraud, securities fraud, and money

laundering.

         23.      In its criminal indictment of the Debtor, the United States Government asserts that

the Debtor and his co-defendants “utilized more than approximately 500 accounts held in the

names of at least 80 different entities or individuals to launder more than $1 billion in fraud

proceeds.”13

         24.      The property of the Debtor’s alter egos, including Lexington and HCHK

Technologies, was at all times prior to the Petition Date property of the Debtor.

         25.      At all times relevant herein, the Debtor conducted business in New York, New

York, including direction of the Transfers (as defined herein).

D.       Transfers Made with Intent to Hinder, Delay, or Defraud Creditors

         26.      The Transfers at issue in this Complaint were made with the intent to hinder, delay,

and/or defraud the Debtor’s creditors inasmuch as they were all made through the Debtor’s alter-

ego shell companies operated as a part of the Debtor’s shell game.

         27.      The Debtor intentionally orchestrated his financial affairs in this manner in order

to conceal and dissipate millions of dollars in assets while falsely pleading poverty to his many

creditors. The Debtor claimed to be destitute while simultaneously spending heavily to maintain

a billionaire lifestyle for himself and for his family members and close associates.




13
     See Memorandum of Law of the United States of America in Opposition to Defendant Yanping Wang’s Motion
     for Pretrial Release at 29, attached as Exhibit B in the Reply of Chapter 11 Trustee to G Club Operations LLC’s
     Supplemental Objection to Trustee’s Motion to Compel and Request for Related Relief (June 23, 2023, Main
     Case Docket No. 1934).

                                                         7
Case 24-05092          Doc 1   Filed 02/11/24     Entered 02/11/24 11:49:02         Page 10 of 15




        28.     The assets concealed and dissipated by the Debtor included funds that he obtained

from the victims of his cryptocurrency, securities, and other fraud schemes. As a result of this

conduct, the Debtor faces multiple felony fraud, money laundering, and racketeering charges in a

criminal case pending in the U.S. District Court for the Southern District of New York. See United

States v. Ho Wan Kwok, case no. 1:23-cr-00118-AT [ECF No. 215] (Jan. 3, 2024 S.D.N.Y.).

        29.     The Debtor knew and intended that by concealing and dissipating his assets in this

manner there would not be sufficient assets remaining to repay his creditors—including the many

victims of his frauds. These transfers were thus necessarily made with the intent to hinder, delay,

and/or defraud the Debtor’s creditors.

E.      Transfers to the Defendant

        30.     Prior to the Petition Date, the Debtor, using his alter ego shell companies including

Lexington and HCHK Technologies, or otherwise, transferred the Debtor’s property to the

Defendant (collectively, the “Transfers”), including, without limitation, as follows:

        See SCHEDULE A attached hereto and made a part hereof.

        31.     At the time of the Transfers, the Debtor had outstanding obligations to creditors of

the Debtor’s estate.

        32.     The Defendant was the initial transferee of the Transfers.

                                            FIRST CLAIM

               (Claim to Avoid and Recover Actual Fraudulent Transfers Pursuant to
                         Bankruptcy Code sections 548(a)(1)(A) and 550(a))

        33.     The Trustee repeats and realleges the allegations contained in paragraphs 1-32 as if

fully set forth herein.

        34.     The Transfers were made by the Debtor through his alter egos, Lexington and

HCHK Technologies, with the actual intent to hinder, delay and/or defraud his creditors.
                                                  8
Case 24-05092             Doc 1   Filed 02/11/24     Entered 02/11/24 11:49:02         Page 11 of 15




        35.     The Debtor’s intent to hinder, delay, and/or defraud his creditors in effectuating the

Transfers is shown by, among other things:

                a.         The Transfers were effectuated using alter-ego shell companies;

                b.         The Transfers were concealed from the Debtor’s creditors;

                c.         The Transfers were effectuated as part of the Debtor’s “shell game” with

        the aid of the Debtor’s family members and other lieutenants and subordinates that he

        controlled in an effort to conceal and shield assets;

                d.         The Transfers furthered the Debtor’s fraudulent conduct by enabling the

        Debtor to benefit from his fraud without subjecting his property to the reach of his

        creditors;

                e.         The Transfers furthered the Debtor’s fraudulent conduct by enabling the

        Debtor to profit from his fraud without subjecting his property to the reach of his creditors;

                f.         At the time of the Transfers, the Debtor was being sued, including by PAX

        in the PAX Case; and

                     g.    At the time of the Transfers, the Debtor was insolvent or undercapitalized.

        36.     The Transfers are avoidable by the Trustee pursuant to section 548(a)(i)(A) of the

Bankruptcy Code and are recoverable pursuant to section 550(a) of the Bankruptcy Code.

                                           SECOND CLAIM

(Claim to Avoid and Recover Actual Fraudulent Transfers pursuant to N.Y. Debt. & Cred.
     Law sections 273, 274, and 276, and Bankruptcy Code sections 544(b) and 550(a))

        37.     The Trustee repeats and realleges the allegations contained in paragraphs 1-32 as if

fully set forth herein.




                                                    9
Case 24-05092            Doc 1   Filed 02/11/24     Entered 02/11/24 11:49:02         Page 12 of 15




        38.    The Transfers were made by the Debtor, through his alter ego companies,

Lexington and HCHK Technologies, with the actual intent to hinder, delay and/or defraud his

creditors.

        39.    The Debtor’s intent to hinder, delay, and/or defraud his creditors in effectuating the

Transfers is shown by, among other things:

               a.         The Transfers were effectuated using alter-ego shell companies;

               b.         The Transfers were concealed from the Debtor’s creditors;

               c.         The Transfers were effectuated as part of the Debtor’s “shell game” with

        the aid of the Debtor’s family members and other lieutenants and subordinates that he

        controlled in an effort to conceal and shield assets;

               d.         The Transfers furthered the Debtor’s fraudulent conduct by enabling the

        Debtor to benefit from his fraud without subjecting his property to the reach of his

        creditors;

               e.         The Transfers furthered the Debtor’s fraudulent conduct by enabling the

        Debtor to profit from his fraud without subjecting his property to the reach of his creditors;

               f.         At the time of the Transfers, the Debtor was being sued, including by PAX

        in the PAX Case; and

                    g.    At the time of the Transfers, the Debtor was insolvent or undercapitalized.

        40.    The Transfers are avoidable by the Trustee pursuant to N.Y. Debt. & Cred. Law

sections 273(a)(1), 274, and 276, and section 544(b) of the Bankruptcy Code and recoverable

pursuant to section 550(a) of the Bankruptcy Code.




                                                   10
Case 24-05092        Doc 1     Filed 02/11/24      Entered 02/11/24 11:49:02          Page 13 of 15




                                        PRAYER FOR RELIEF

        WHEREFORE, for the foregoing reasons, the Trustee respectfully requests that judgment

be entered as follows:

        1.      On the First Claim, (a) an order declaring that the Transfers in an amount not less

than $865,029.22 are avoided pursuant to section 548(a)(1)(A) of the Bankruptcy Code; (b) an

order directing that the Transfers be set aside; and (c) recovery of the Transfers, or the value thereof

at the Trustee’s option, from the Defendant for the benefit of the Debtor’s estate pursuant to section

550(a)(1) of the Bankruptcy Code;

        2.      On the Second Claim, (a) an order declaring that the Transfers in an amount not

less than $865,029.22 are avoided pursuant to section 544(b) of the Bankruptcy Code and N.Y.

Debt. & Cred. Law sections 273(a)(2), 274 and 276; (b) an order directing that the Transfers be

set aside; and (c) recovery of the Transfers, or the value thereof at the Trustee’s option, from the

Defendant for the benefit of the Debtor’s estate pursuant to N.Y. Debt & Cred. Law section 276

and section 550(a)(1) of the Bankruptcy Code;

        3.      Awarding the Trustee pre-judgment interest at the maximum legal rate from the

date of the filing of this Complaint to the date of judgment herein; and

        4.      Such other and further relief as the Court may deem just, proper, or equitable under

the circumstances.

                               [Remainder of Page Intentionally Left Blank]




                                                  11
Case 24-05092     Doc 1    Filed 02/11/24   Entered 02/11/24 11:49:02   Page 14 of 15


Dated: February 11, 2024              LUC A. DESPINS
       New Haven, CT                  CHAPTER 11 TRUSTEE



                                      By: /s/ _Douglas Skalka____________
                                         Douglas S. Skalka (ct00616)
                                         Patrick R. Linsey (ct29437)
                                         NEUBERT, PEPE & MONTEITH, P.C.
                                         195 Church Street, 13th Floor
                                         New Haven, Connecticut 06510
                                         (203) 781-2847
                                         dskalka@npmlaw.com
                                         plinsey@npmlaw.com
                                         Counsel for the Chapter 11 Trustee




                                            12
Case 24-05092   Doc 1   Filed 02/11/24   Entered 02/11/24 11:49:02   Page 15 of 15




                                 SCHEDULE A

                            FILED UNDER SEAL




                                         13
